[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                         MEMORANDUM OF DECISION
                          STATEMENT OF THE CASE
In the second count of her complaint, the plaintiff seeks to recover from her motor vehicle insurance carrier for injuries sustained in a motor vehicle collision, which allegedly occurred on August 26, 1997.
In a first count, the owners of the vehicle which struck the plaintiffs vehicle are named as defendants.
When these defendants failed to respond to a subpoena, the court issued a capias to secure their appearance and they CT Page 6554 appeared for trial pursuant to the capias.
                               DISCUSSION
As to the plaintiff:
The plaintiff testified that she was stopped at a light and was struck in the rear. The operator of the vehicle striking her left the scene and the plaintiff pursued her, obtaining the registration number. This number was listed as that of the Bryants. The operator was a young black female.
                As to the defendant, GEICO Insurance Co.:
This defendant's pleading left the plaintiff to her proof and recited seven special defenses. of these defenses, no proof was offered to support them or to demonstrate their applicability.
             As to the defendants, Jimmy and Dorothy Bryant:
Though both defendants were present, only the defendant Jimmy Bryant was called by the plaintiff. Mr. Bryant testified to the effect that he owned the vehicle which bore the registration number the plaintiff claims was on the vehicle which struck her. He denied that the vehicle was "out of the garage" on the day in question and stated it showed no damage which could have been incurred in this collision.
Mr. Bryant, who is black, had a teenage daughter residing in his home.
The significant testimony from Mr. Bryant was that he was uninsured on the date in question.
                               CONCLUSION
From the available evidence and the inferences that can be reasonably drawn from them, the court concludes that the plaintiff was struck in the rear by a vehicle owned by the Bryants and operated by his daughter. The court further concludes that the Bryants were not insured and the plaintiffs uninsured motorist coverage is applicable.
                             As to damages: CT Page 6555
The plaintiffs motor vehicle received only slight damage — $301.55 — to the rear bumper.
On the day following the accident, she commenced an intensive course of treatment with a chiropractor, John Cianciolo. This treatment was only interrupted for 1.2 days while the plaintiff was on her honeymoon and lasted until February 20, 1998.
Her chiropractic treatment cost $3,284.00 and the chiropractor found her to have a 5% "partial permanent impairment" to the cervical spine and the lumbar spine.
She was referred to a neurologist, Dr. Arthur Seigel who performed several tests but basically confirmed the chiropractic assessment. His bills totaled $795.00.
All of the medical evidence came in solely via reports. The defense presented no evidence on the medical issues, but argued the credibility of the plaintiff was suspect because of two prior accidents and her failure to fully disclose them.
The court believes this accident occurred as the plaintiff claims but has serious doubts that this minor impact produced the injuries described and purportedly treated. The court perceives this as a glaring example of over — treatment, though the medicals were not questioned.
It is therefore ordered that judgment enter for the plaintiff to recover of the defendants, Jimmy and Dorothy Bryant, the sum of $10,000.00 — on the first count. Judgment may enter for the plaintiff against the defendant GEICO on the second count under the existing insurance policy for the same amount.
Anthony V. DeMayo Judge Trial Referee